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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:11-CR-00352-LJO
                                        )
11               Plaintiff,             )
                                        ) Request to File Under Seal
12         vs.                          ) Stipulation and Order.
                                        )
13                                      )
     MARK BAGDASARIAN,                  )
14                                      )
                 Defendant.             )
15

16        TO THE ABOVE ENTITLED COURT AND THE ASSISTANT UNITED
     STATES ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
17

18         Defendant, Mark Bagdasarian, by and through his attorney
19   Anthony P. Capozzi, hereby requests that the Stipulation and
20   [Proposed] Order be filed under seal with copies being served
21   upon the United States Attorney and Pretrial Services.
22         This request is made pursuant to Local Rule 141(a) which
23   states that documents can be sealed only by written order of
24   the United States District Court.          Under the Local Rule access
25   to all documents filed under seal is restricted to the Court
26   and authorized court personnel.
27   ///
28   ///
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 1        The conditions and terms of release sets out confidential
 2   and sensitive information that is subject to the Defendant’s
 3   privacy rights.
 4        Accordingly,      it    is   requested   that    the   Stipulation    and
 5   [Proposed] Order be Sealed with copies served electronically
 6   upon the United States Attorney and Pretrial Services.
 7

 8

 9                                           Respectfully submitted,
10   DATED: August 30, 2013
11                                           /s/ Anthony P. Capozzi
12                                           Anthony P. Capozzi
                                             Attorney for,
13                                           MARK BAGDASARIAN
14

15                                       ORDER
16

17        For reasons set forth above, the defendants request to
18   have the Stipulation and [Proposed] Order filed Under Seal is
19   granted.
20
     IT IS SO ORDERED.
21

22     Dated:   August 30, 2013                  /s/ Barbara A. McAuliffe   _
23                                         UNITED STATES MAGISTRATE JUDGE

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